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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          OCALA DIVISION

RACHELLE BEAUBRUN, et al.                    CASE NO. 5:19-cv-615-TJC-PRL
v.
UNITED STATES OF AMERICA


Counsel for Plaintiffs:                  Counsel for Defendant:
Bryan Busch                              Adam Smart
Philip Reizenstein                       Julie Posteraro
Kellie Peterson

              HONORABLE MARCIA MORALES HOWARD
                 UNITED STATES DISTRICT JUDGE

Courtroom Deputy: Jodi L. Wiles      Court Reporter: Cindy Packevicz Jarriel


                           CLERK’S MINUTES


PROCEEDINGS OF: SETTLEMENT CONFERENCE VIA ZOOM

Settlement conference conducted.

Subject to approval by the appropriate designee of the Attorney General of the
United States, a settlement was reached with respect to all remaining
Plaintiffs.

The Court recommends that this case be stayed and administratively closed
pending action by the designee of the Attorney General of the United States.
Counsel for the United States shall file a notice advising the Court if the
settlements have been approved.




Date: February 16, 2021   Time: 1:00 p.m. – 2:10 p.m.   Total: 1 Hour, 10 Minutes
